              Case 8:17-cv-00440-JVS-KES Document 35 Filed 04/27/20 Page 1 of 4 Page ID #:470



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                                              UNITED STATES DISTRICT COURT
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                              CENTRAL DISTRICT OF CALIFORNIA- SOUTHERN DIVISION
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                     11   STEVEN DE LA VEGA, an individual,   Case No. 8:17-cv- 00440-JVS (KESx)
                     12              Plaintiff,               ORDER GRANTING JOINT
                                                              STIPULATION TO DISMISS
                     13        vs.                            ACTION WITH PREJUDICE
                     14 STERLING JEWELERS INC dba
                          JARED THE GALLERIA OF JEWELRY
                     15 #2516, a Delaware Corporation; and
                          DOES 1 THROUGH 10; inclusive,       Complaint Filed:    January 19, 2017
                     16                                       Trial Date:         None Set
                                     Defendants.              District Judge:     Hon. James V. Selna
                     17                                       Magistrate Judge:   Hon. Karen E. Scott
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De La Vega - Order   27
on FED Stip to

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                            ORDER GRANTING JOINT STIPULATION TO DISMISS ACTION WITH
                                                   PREJUDICE
Case 8:17-cv-00440-JVS-KES Document 35 Filed 04/27/20 Page 2 of 4 Page ID #:471



  1         Based upon the Parties’ Joint Stipulation of Dismissal of Action With Prejudice,
  2   this Court finds good cause for such an order and issues an order as follows:
  3         IT IS HEREBY ORDERED.
  4         1.       This entire matter is hereby dismissed with prejudice; and
  5         2.       Each party will bear their own attorney’s fees and costs.
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  7         IT IS SO ORDERED.
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 10   DATED: April 27, 2020                 By:
                                                  Honorable James V. Selna
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          [PROPOSED] ORDER GRANTING JOINT STIPULATION TO DISMISS
                          ACTION WITH PREJUDICE
Case 8:17-cv-00440-JVS-KES Document 35 Filed 04/27/20 Page 3 of 4 Page ID #:472



  1
                                     PROOF OF SERVICE
  2                     Steven de la Vega v. Sterling Jewelers, Inc., et al.
                             Case No. 8:17-cv-00440-JVS (KESx)
  3
           I am and was at all times herein mentioned over the age of 18 years and not a
  4 party to the action in which this service is made. At all times herein mentioned I have
    been employed in the County of Orange in the office of a member of the bar of this
  5 court at whose direction the service was made. My business address is Park Tower,
    Suite 1500, 695 Town Center Drive, Costa Mesa, CA 92626.
  6
            On April 27, 2020, I served the following document(s):
  7
        [PROPOSED] ORDER GRANTING JOINT STIPULATION TO DISMISS
  8                    ACTION WITH PREJUDICE

  9   by placing     (the original)    (a true copy thereof) in a sealed envelope addressed as
      stated on the attached service list.
 10
            BY MAIL: I placed the envelope for collection and mailing, following our
 11         ordinary business practices. I am readily familiar with the practice of Ogletree,
            Deakins, Nash, Smoak & Stewart, P.C.’s practice for collecting and processing
 12         correspondence for mailing. On the same day that correspondence is placed for
            collection and mailing, it is deposited in the ordinary course of business with
 13         the United States Postal Service, in a sealed envelope with postage fully prepaid.
 14         BY CM/ECF: With the Clerk of the United States District Court of California,
            using the CM/ECF System. The Court’s CM/ECF System will send an e-mail
 15         notification of the foregoing filing to the parties and counsel of record who are
            registered with the Court’s CM/ECF System.
 16
            (Federal)    I declare that I am employed in the office of a member of the State
 17                      Bar of this Court at whose direction the service was made. I
                         declare under penalty of perjury under the laws of the United States
 18                      of America that the above is true and correct.
 19         (Federal)    I declare that I am a member of the State Bar of this Court at whose
                         direction the service was made. I declare under penalty of perjury
 20                      under the laws of the United States of America that the above is
                         true and correct.
 21
           I declare under penalty of perjury under the laws of the United States of America
 22 that the above is true and correct.
 23         Executed on April 27, 2020, at Costa Mesa, CA.
 24

 25   Dianna Kinnamon
      Type or Print Name                             Signature
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                                                 2
          [PROPOSED] ORDER GRANTING JOINT STIPULATION TO DISMISS
                          ACTION WITH PREJUDICE
Case 8:17-cv-00440-JVS-KES Document 35 Filed 04/27/20 Page 4 of 4 Page ID #:473



  1                                   SERVICE LIST
                      Steven de la Vega v. Sterling Jewelers, Inc., et al.
  2                        Case No. 8:17-cv-00440-JVS (KESx)
  3

  4   David P. Myers (SBN 206137)                   Attorneys for Plaintiff
      Ann Hendrix (SBN 258285)                      STEVEN DE LA VEGA
  5   Jason Hatcher (SBN 285481)
      Robert M. Kitson (SBN 214091)
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      Facsimile: (888) 375-2102
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 10   jhatcher@myerslawgroup.com
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         [PROPOSED] ORDER GRANTING JOINT STIPULATION TO DISMISS
                         ACTION WITH PREJUDICE
